                                                                                                  CLERK'S OFFICE U.S. DIST. COURT
                                                                                                         .AT ROANOKE, VA
                                                                                                        .      FILED
                                . IN THE UNITED STATES DISTRICT COURT
                                FOR THE WESTERN DISTRICT OF VIRGINIA                                        NOV 0 1 2018
                                           ROANOKE DIVISION
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 UNITED STATES OF AMERICA                                     )
                                                              )        Case No. 7:10CR00082
 v.                                                           )
                                                              )        MEMORANDUM OPINION
 EDWARD ALTINA DARGAN, JR.,                                   )
                                                              )        By: Hon. Glen E. Conrad
           Defendant.                                         )        Senior United States District Judge


           On April 18, 2011, Senior United States District Judge James C. Turk sentenced the

 defendant, Edward Altina Dargan, Jr., to a term of imprisonment of 132 months, in accordance

 with the parties' agreement under Rule 11(c)(l)(C) of the Federal Rules of Criminal Procedure.

 The case is presently before the court on the parties' emergency joint motion for reduction of

 sentence, pursuant to 18 U.S.C. § 3582(c)(2), Amendment 782 to the United States Sentencing

 Guidelines ("U.S.S.G."), and the United States Supreme Court's recent decision in Hughes v.

 United States, 138 S. Ct. 1765 (2018). 1 For the reasons that follow, the court will grant the
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 motion and reduce the defendant's term of imprisonment to 102 months, but not less than time

 served.

                                                      Background

           On May 21, 2007, a state search warrant was executed at the Roanoke, Virginia residence

 shared by the defendant and another individual.                       A .22 caliber revolver and associated

 ammunition were seized from the defendant's bedroom.                             Various controlled substances,

 including 9.51 grams of cocaine base, were also seized from the residence.                               A subsequent
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  investigation revealed that the defendant had been convicted of felony offenses in Virginia.




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               Judge Turk is now deceased, and the case has been reassigned to the undersigned district judge.

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         On September 9, 2010, a grand jury in the Western District of Virginia returned a one-

  count indictment against the defendant. See United States v. Dargan, No. 7:10-cr-00057 (W.D.

  Va. Sept. 9, 2010). The indictment charged the defendant with possession of a firearm after

  having been convicted of a crime punishable by a term of imprisonment exceeding one year, in

  violation of 18 U.S.C. §§ 922(g)(1) and 924(e)(1).

         On November 1, 2010, the government filed a notice of enhanced punishment under the

  Armed Career Criminal Act, 18 U.S.C. § 924(e). The notice advised the defendant that the

  government planned to prove at sentencing that he had three prior convictions for felony sale of a

  controlled substance and one prior conviction for felony eluding a police officer.                        If the

  defendant had been convicted of the firearm offense under § 922(g) and subsequently found to

  qualify as an armed career criminal, he would have been subject to a mandatory minimum term

  of imprisonment of fifteen years under § 924(e)(I).

         The defendant ultimately agreed to plead guilty to a one-count information charging him

  with simple possession of more than five grams of a mixture or substance containing cocaine

  base, in violation of 21 U.S.C. § 844(a).            Pursuant to Federal Rule of Criminal Procedure

  11(c)(l)(C), the parties agreed that the defendant would be sentenced to "132 months of

  incarceration." Plea Agreement 3, Dkt. No. 4. The parties also agreed "that the version of 21

  U.S.C. § 844(a), which was in effect on May 21, 2007, shall be [the] version of the statute

  applied in this case and under this plea agreement." 2 Id. at 2. The defendant waived the right to

  appeal his sentence "on any ground." Id. at 7. He also waived the right to collaterally attack


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           The defendant committed the offense of conviction in 2007, prior to the enactment of the Fair Sentencing
 Act, which reduced the statutory penalties for crack cocaine offenses. See Fair Sentencing Act of2010, Pub. L. No.
 111-220, 124 Stat. 2372. At the time of the offense, § 844(a) provided that "a person convicted under this
 subsection for the possession of a mixture or substance which contains cocaine base shall be imprisoned not Jess
 than 5 years and not more than 20 years." 18 U.S.C. § 844(a) (2006).
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 "any order issued in this matter," with the exception of "any collateral claim based upon an

 allegation of ineffective assistance or an issue which cannot be waived by law." I d.

         Prior to sentencing, a probation officer prepared a presentence report ("PSR"). In the

  PSR, the probation officer attributed 9.51 grams of cocaine base to the defendant, based on the

  quantity of drugs found in his residence. This particular drug quantity and type resulted in a base

  offense level of 18 under U.S.S.G. § 2Dl.l(c) (Supp. 2010). The defendant also received a two-

  level firearm enhancement and a three-level reduction for acceptance of responsibility, which

  resulted in a total offense level of 17. The defendant's total offense level, when combined with a

  criminal history category of IV, produced an advisory guideline range of imprisonment of 37 to

  46 months.

         In the PSR, the probation officer emphasized that the defendant's plea agreement under

  Rule 11 (c)(I )(C) limited his ex.posure to a substantial period of incarceration. The probation

  officer noted that if the defendant had proceeded to trial and been convicted of both the firearm

  and drug possession charges, "it is likely that he would have been determined to be an armed

  career criminal," which could have produced "a guideline custody range of 262 months to 327

 months, as opposed to the stipulated custody term of 132 months." PSR ~ 68, Dkt. No. 35.

         On April 18, 2011, the defendant appeared before Judge Turk for sentencing. At the

  beginning of the hearing, defense counsel explained that the defendant "was originally charged

  with a [§ 922(g)] violation and faced the threat of the government accusing him of being an

  armed career criminal." Sentencing Tr. 3, Dkt. No. 31. In light of the fifteen-year mandatory

  minimum sentence that would have applied if the defendant had been designated as an armed

  career criminal, the defendant "chose to agree to the ll(c)(l)(C) agreement ... that called for

  him to receive 11 years" for the charge of possessing cocaine base. Id. In response to questions
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  from Judge Turk, defense counsel indicated that he had not been able to get the government to

  agree to a lesser sentence. Id. at 4. Likewise, the Assistant United States Attorney ("AUSA")

  confirmed that the government was not willing to agree to a lesser sentence. Id. The AUSA

  emphasized that he was convinced that the defendant would have been sentenced as an armed

  career criminal if he had gone to trial on the firearm charge, and that the agreed-upon sentence
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  "was arrived at in an effort to [account for] the potential punishment he could have faced had he

  gone to trial," in addition to "all the circumstances and background." Id. at 5.

         After hearing from the parties, Judge Turk accepted the plea agreement and adopted the

  PSR.    Judge Turk explained that the advisory Sentencing Guidelines applicable to the

  defendant's case called for a period of incarceration of 37 to 46 months, but that the parties had

  agreed that a sentence of 132 months was appropriate. After "having considered the factors

  noted in 18 U.S.C. § 3553(a) and after having considered the advisory sentencing guidelines and

  the Rule ll(c)(l)(C) plea agreement," Judge Turk sentenced the defendant to a term of

  imprisonment of 132 months for the controlled substance offense. Id. at 8. He then granted the

  government's motion to dismiss the indictment containing the firearm charge. The defendant did

  not appeal his conviction or sentence.

         On May 22, 2015, the defendant filed a pro se motion for reduction of sentence under 18

  U.S.C. § 3582(c)(2), based on Amendment 782 to Sentencing Guidelines, which reduced the

  base offense levels assigned to most drug quantities in § 2D 1.1 by two levels.           Section

  3582(c)(2) authorizes the court to reduce a defendant's term of imprisonment if the term was

 "based on a sentencing range that has subsequently been lowered by the Sentencing

  Commission," and "if such a reduction is consistent with the applicable policy statements issued


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  by the Sentencing Commission."         18 U.S.C. § 3582(c)(2).      The court denied the motion,

  concluding that tht: defendant was not eligible for a sentence reduction under the statute.

         Because the defendant was sentenced under a Rule 1l(c)(1)(C) agreement, the court

  looked to Justice Sotomayor's concurring opinion in Freeman v. United States, 564 U.S. 522

  (2011) to determine whether the defendant was eligible for relief under§ 3582(c)(2). See United

  States v. Brown, 653 F.3d 337, 340 (4th Cir. 2011) ("Under the fragmented opinion, Justice

  Sotomayor's rationale becomes the Court's holding."), abrogated by Hughes v. United States,

  138 S. Ct. 1765 (2018). "Justice Sotomayor agreed with the dissent that a sentence imposed

  pursuant to a Rule 11(c)(1)(C) plea agreement is based on the agreement and, therefore,

  § 3582(c)(2) relief is usually not available."       Brown, 653 F.3d at 359.     "However, Justice

  Sotomayor established an exception to this general rule - where the plea agreement itself

  expressly refers to and relies upon a Guidelines sentencing range." Id. (citing Freeman, 564 U.S.

  at 534 (Sotomayor, J., concurring)). Because the defendant's plea agreement did not expressly

  reference the Guidelines in establishing the agreed-upon term of imprisonment, the court

  concluded that the defendant was not eligible for relief under§ 3582(c)(2).

         On October 12, 2018, the defendant, through counsel, and the government jointly moved

  to reduce the defendant's sentence, pursuant to § 3582(c)(2), Amendment 782, and the Supreme

  Court's recent decision in Hughes. The court gave the parties until 5:00 p.m. on Thursday,

  October 18, 2018 to file a supplemental brief in support of the motion. In accordance with the

  court's order, the defendant filed a supplemental brief in which he argued that he is eligible for a

  sentence reduction under the holding of Hughes, and that reductions have been granted in similar

  cases in this district. See Def.'s Br. in Supp. of Mot. 2-3, Dkt. No. 37 (collecting cases).


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         The court held a hearing on the motion on October 26, 2018. Prior to the hearing, the

  court obtained the defendant's prison disciplinary records.        The records indicate that the

  defendant has had four disciplinary infractions, two of which occurred earlier this year. In June

  of 2018, the defendant lost good conduct time for possessing another inmate's medication. In

  March of 2018, the defendant lost good conduct time for fighting with another inmate.

                                              Discussion

         Generally, '"[a] judgment of conviction that includes [a sentence of imprisonment]

  constitutes a final judgment' and may not be modified by a district court except in limited

  circumstances."    Dillon v. United States, 560 U.S. 817, 824 (2010) (quoting 18 U.S.C.

  § 3582(b)) (second alteration in original). Section 3582(c)(2) establishes an exception to this

  general rule "in the case of a defendant who has been sentenced to a term of imprisonment based

  on a sentencing range that has been subsequently lowered by the Sentencing Commission." 18

  U.S.C. § 3582(c)(2). "In such cases, Congress has authorized courts to 'reduce the term of

  imprisonment, after considering the factors set forth in section 3553(a) to the extent that they are

  applicable, if such a reduction is consistent with the applicable policy statements issued by the

  Sentencing Commission."' Dillon, 560 U.S. at 824-25 (quoting 18 U.S.C. § 3582(c)(2)).

         When considering a motion for reduction of sentence under § 3582(c)(2), the court

  conducts a "two-step inquiry." Id. at 826.       The court must first determine the defendant's

  eligibility for a reduction. Id.; see also United States v. Peters, 843 F.3d 572, 574 (4th Cir.

  20 16). If the defendant is eligible for a reduction, the court then "considers relevant sentencing

  factors to determine whether, in its discretion, a reduction 'is warranted in whole or in part under

  the particular circumstances of the case."' United States v. Muldrow, 844 F.3d 434, 438 (4th

  Cir. 2016) (quoting Dillon, 560 U.S. at 827).        The application notes to the relevant policy
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  statement provide that the court "shall consider" the factors set forth in 18 U.S.C. § 3553(a), as

  well as the nature and seriousness of any threat to public safety. U.S.S.G. § 1B 1.10 cmt. n.l (B).

  The court also may consider the defendant's post-sentencing conduct when determining whether,

  and to what extent, a reduction is warranted. Id. Ultimately, "[w]hether to reduce a sentence and

  to what extent is a matter within the district court's discretion." United States v. Smalls, 720

  F .3d 193, 195 (4th Cir. 20 13).

         In the instant case, the parties agree that the defendant is eligible for a reduction under

  § 3582(c)(2).    It is undisputed that the defendant's guideline range has been subsequently

  lowered by the Sentencing Commission. Under Amendment 782, the base offense level for the

  defendant's offense of conviction has been reduced by two points, lowering his total offense

  level to 15 and his guideline range to 30 to 37 months. In the court's view, however, the more

  difficult question is whether the agreed-upon sentence of 132 months' imprisonment was "based

  on" the guideline range for purposes of§ 3582(c)(2). As the parties recognized in their joint

  motion, "[t]his is a somewhat complicated case because Dargan's Rule ll(c)(l)(C) plea

  agreement was informed by the potential punishment associated with the gun charge the

  Government agreed to dismiss, and thus was not purely and solely 'based on' the drug

  guideline."   Jt. Mot. to Reduce Sentence 3, Dkt. No. 32. Nonetheless, "the parties are in

  agreement that, based on the specific circumstances of this unusual matter, the agreed-upon

  sentence of 132 months was based at least in part" on the appli<;able guideline range and "that

  there is not a 'clear demonstration' that [Judge Turk] would have imposed the same sentence had

  the guideline [range] been lower." Id.

         The parties' joint motion is based on the Supreme Court's recent decision in Hughes. In

  that case, to "resolve the uncertainty" that resulted from Freeman, the Court held, in a 6-3
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  decision, that a sentence imposed pursuant to a Rule 11(c)(l)(C) agreement "is 'based on' the

  defendant's Guidelines range so long as that range was part of the framework that the district

  court relied on in imposing the sentence or accepting the agreement." Hughes, 138 S. Ct. at

  1775.   In reaching this decision, the Court emphasized that "[t]he Sentencing Reform Act

  requires a district court to calculate and consider a defendant's Guidelines range in every case,"

  and that "the Sentencing Guidelines prohibit district courts from accepting [Rule 11(c)(1)(C)]

  agreements without first evaluating the recommended sentence in light of the defendant's

  Guidelines range." Id. at 1776. Consequently, "in the usual case, the court's acceptance of a

  Type-C agreement and the sentence to be imposed pursuant to that agreement are 'based on' the

  defendant's Guidelines range."      Id.   Thus, "when the Commission lowers a defendant's

  Guidelines range the defendant will be eligible for relief under § 3582(c)(2) absent clear

  demonstration, based on the record as a whole, that the court would have imposed the same

  sentence regardless ofthe Guidelines." Id.

          As discussed during the hearing, the court continues to believe that Justice Sotomayor's

  concurring opinion in Freeman sets forth a more persuasive position on this issue. Nevertheless,

  the court is bound by the majority's decision in Hughes, and both sides are in agreement that its

  broader interpretation ofthe statutory text applies in the instant case. Upon review of the record,

  the court agrees with the parties that the guideline range was "part of the framework" that Judge

  Turk considered in evaluating the case and imposing the defendant's sentence. Id. at 1775.

  Because the guideline range has "'subsequently been lowered by the Sentencing Commission,"'

  the defendant is eligible for relief under§ 3582(c)(2). Id. at 1778.

          The court must now determine whethyr and to what extent a reduction in sentence is

  warranted. According to the United States Probation Office, the defendant has already served
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  approximately 92 months in. prison. The parties have jointly requested an order reducing the

  defendant's term of imprisonment to 102 months, but not less than time served, which, with good

  conduct time, would likely render the defendant eligible for immediate release.

          As the court noted during the hearing, there are a number of factors in the defendant's

  case that would ordinarily counsel against the reduction sought by the parties, including the

  defendant's criminal history, the minimal extent to which the guideline range factored into the

  agreed-upon sentence, and the defendant's post-sentencing conduct, which includes two

  disciplinary infractions for which he lost good conduct time. On the other hand, the parties have

  identified a number of circumstances which ultimately weigh in favor of the requested reduction,

  including the concerns raised during the hearing regarding the propriety of the defendant's

  original sentence. 3 Additionally, the defendant has cited several similar cases in the Western

  District of Virginia, in which reductions comparable to that requested in the instant case have

  been awarded based on Hughes. 4

          After considering the parties' arguments and the sentencing factors set forth in 18 U.S.C.

  § 3553(a), and in order to maintain consistency with the relief afforded in similar cases in this

  district, the court will reduce the defendant's term of imprisonment to 102 months, but not less

  than time served. The court finds that this comparatively proportionate modification adequately


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              Although a § 3582(c)(2) motion is generally not the proper vehicle for challenging the legality or
  propriety of a defendant's original sentence, both parties agree, and the court concurs, that the concerns raised
  during the hearing further support the reduction requested in this case.

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              See. e.g., United States v. Vasquez, No. 5:11-cr-00015 (W.D. Va. Sept. 10, 2018) (Urbanski, J.)
  (proportionately reducing the defendant's term of imprisonment from 186 months to 165 months, but not less than
  time served, to account for the sentencing guideline reduction and concluding that such reduction was authorized by
  Hughes); United States v. Sanders, No. 7:05-cr-00085 (W.D. Va. Aug. 7, 2018) (Urbanski, J.) (proportionately
  reducing the defendant's term of imprisonment from 180 months to 153 months, but not less than time served, and
  concluding that such reduction was authorized by Hughes).

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 accounts for the reduction in tlie applicable guideline range, and that it is sufficient, but not

 greater than necessazy, to accomplish the goals and objectives outlined in § 3553(a).

        For these reasons, the court will grant the parties' joint motion. The defendant's term of

 imprisonment will be reduced to 102 months, but not less than time served. All other tenns of

 the 'original sentence will remain the same.

        The Clerk is dire~ed to send a certified copy of this order to the defendant, all counsel of

 record, the United States Probation Office, and the United States Marshais Service, for delivery

 to the Bureau of Prisons.

        ENTER: This [al-'      day ofNovember, 2018.




                                                           Senior United States District Judge




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